Case 2:10-cv-01823-JLR Document 173-11 Filed 02/03/12 Page 1 of 4




   EXHIBIT E
       Case 2:10-cv-01823-JLR Document 173-11 Filed 02/03/12 Page 2 of 4


Application/Control Number: 11/027,265                                                Page 2
Art Unit: 2621

                            EXAMINER'S AMENDMENT



I.     An Examiner's amendment to the record appears below. Should the changes
and/or additions be unacceptable to Applicant, an amendment may be filed as provided
by 37 CFR 1.312. To ensure consideration of such an amendment, it MUST be
submitted no later than the paym~nt of the issue fee.


IN THE CLAIMS:


A)     Please amend claims 1, 4, 7-8,14, and 19 as follows:


1.     (Currently Amended) A method of encoding a picture in an image sequence,
comprising:
       dividing said picture into a plurality of smaller portions, wherein each of said
smaller portions has a size that is larger than one macroblock;
       selectively encoding at least one of said plurality of smaller portions at a time in
frame coding mode and at least one of said plurality of sma» smaller portions at a time
in field coding mode; and
       selectively encoding at least one block within at least one of said plurality of
smaller portions at a time in inter coding mode.


4.     (Currently Amended) An apparatus for encoding a picture in an image sequence,
comprising:
       means for dividing said picture into a plurality of smaller portions, wherein each
of said smaller portions has a size that is larger than one macroblock;
       means for selectively encoding at least one of said plurality of smaller portions at
a time in frame coding mode and at least one of said plurality of sma» smaller portions
at a time in field coding mode; and
       Case 2:10-cv-01823-JLR Document 173-11 Filed 02/03/12 Page 3 of 4


Application/Control Number: 11/027,265                                                   Page 3
Art Unit: 2621

       means for selectively encoding at least one block within at least one of said.
plurality of smaller portions at a time in inter coding mode.


7.     (Currently Amended) A computer-readable medium encoded with computer
executable instructions having stored thereon a pluF3lity of instructions, the plurality of
computer executable instructions including instructions which, when executed by a
processor, cause the processor to perform the steps of a method for encoding a picture
in an image sequence, comprising the steps of:
       dividing said picture into a plurality of smaller portions, wherein each of said
smaller portions has a size that is larger than one macroblock;
      - selectively encoding at least one of said plurality of smaller portions at a time in
frame coding mode and at least one of said plurality of sma» smaller portions at a time
in field coding mode; and
       seleCtively encoding at least one block within at least one of said plurality of
smaller portions at a time in inter coding mode.


8.     (Currently Amended) A method of decoding an encoded picture having a plurality
of smaller portions from a bitstream, comprising:
       decoding at least one of said plurality_ of smaller portions at a time in frame
coding mode and at least one of said plurality of smaller portions at a time in field
coding mode, wherein each of said smaller portions has a size that is larger than one
macroblock, wherein at least one block within said at least one of said plurality of
smaller portions at a time is encoded in inter coding mode; and
using said plurality of decoded smaller portions to construct a decoded picture.


14.    (Currently Amended) An apparatus for decoding an encoded picture from a_
bitstream, comprising:
       means for decoding at least one of said plurality of smaller portions at a time of
the encoded picture that is encoded in frame coding mode and at least one of said
plurality of smaller portions at a time of the encoded picture in field coding mode,
           Case 2:10-cv-01823-JLR Document 173-11 Filed 02/03/12 Page 4 of 4


Application/Control Number: 11/027,265                                                Page 4
Art Unit: 2621

wherein each of said smaller portions has a size that is larger than one macroblock,
wherein at least one block within at least one of said plurality of smaller portions at a
time is encoded in inter coding mode; and
       means for using said plurality of decoded smaller portions to construct a decoded
picture.


19.    (Currently Amended) A bitstream comprising:
       a picture that has been divided into a plurality of smaller portions, wherein at
least one of said plurality of smaller portions at a time is encoded in frame coding mode
and at least one of said plurality of smaller portions at a time is encoded in field coding
mode, wherein each of said smaller portions has a size that is larger than one
macroblock, and wherein at least one block within at least one of said plurality of
smaller portions at a time is encoded in inter coding mode.




REMARKS:
       Claims 1, 4, 7-8, 14, and 19 have been amended as discussed above, as
authorized by Applicant's attorney, Larry T. Cullen (44,489) on June 21, 2007.


II.    Any inquiry concerning this communication or earlier communications from the
Examiner should be directed to Shawn S. An whose telephone number is 571-272-7324.




                                                                         SH.\WNAN
                                                                     PRIMARY EXAMINER


                                                                              6/23/07
